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UNITEDSTATESOFAMERICA                             criminalxo. 7,'/2z'r4)
                                                  A llin violation of:
                                                         C ounts 1 to 5 and 11 to 91
             V.                                                21U.S.C.j841(a)(1)
                                                        Counts6 to 10 and 92 to 172
                                                               21U.S.C.j843(a)(2)
                                                        Count173
LIND A SU E CH EEK                                             21U.S.C.j856(a)(1)
           D efendant                                   N otice ofForfeiture



                               l N D lC T M E N T

                    INTRO DU CTIO N TO TH E IN DICTM ENT

      A talltim esm aterialto this lndictm ent-
                                              .

                                LIN DA SUE CH EEK

             LIND A SU E CH EEK received am edicaldegree from the University of

TexasH ealth Science CenteratSan Antonio in 1992. TheV irginia Departm entofH ea1th

Professions,Board ofM edicine,issued LIN DA SUE CH EEK a license to practice

m edicine and surgery on July 1,1993.LIND A SUE CH EEK com pleted fam ily practice

training atRoanoke M em orialH ospitalin Roanoke,V irginia in June 1995.




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              LIN DA SUE CH EEK began practice atN ew RiverM edicalAssociates,

Inc.,in 1999 and m aintained a fam ily practiceto include a specialty in pain m anagem ent

and alternativem edicine. Since 2009,m orethan 90% ofherpatientsregularly receive

prescriptionsforcontrolled substances.

              From 1995 to 2008,LINDA SU E CH EEK possessed a D rug Enforcem ent

Administration (DEA)registrationnumber,XXXXXX865,attheregistered addressof28
Tow n CenterD rive,D ublin,V irginia,w hich authorized herto prescribe controlled

substancesin Schedules11through V .

             In February 2008,LIN DA SUE CH EEK pled guilty to a one-count

lnfonnation charging herw ith health care fraud in violation ofTitle 18,U nited States

Code,Section 1347. She w assentenced on M ay 27,2008,to 4 yearsprobation and

ordered to pay restitution.

             On June4,2008,theVirginiaDepartmentofHealth Professions,Boardof

M edicine ordered LINDA SUE CH EEK 'Sm edicallicense be suspended asa resultof

herfelony conviction forhealth care fraud in theU nited StatesD istrictCourtforthe

W estern D istrictofV irginia. The Board ofM edicine Ordersuspending herm edical

licenseprecluded LIND A SU E CH EEK from petitioning the Board forreinstatem ent

untilshe presented satisfactory w ritten evidence thatshe had successfully completed a

Board-approved com prehensive physician competency evaluation.This suspension of

LINDA SU E CH EEK 'Sm edicallicense caused herDEA registration to becom e invalid.


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       6.       On Septem ber30,2008,a letterwassentfrom the United States

D epartm entofHea1th and Hum an Services,Office oflnspectorGeneral,notifying

LIND A SUE CH EEK thatshe wask'excluded from participation in any capacity in the

M edicare and M edicaid program s,and allfederalhealth care program sas defined in

Section 11288(9 oftheSocialSecurityAct(Act)fortheminimum statutoryperiodof5
years.'' Exclusion action was effective twenty days from the date ofthe letter.

                On N ovember 17,2008,by letterLIND A SU E CH EEK physically

surrendered herinvalid Certificate ofDEA Registration resulting in herD EA registration

num ber'srevocation.

       8.       On February 12,2009,aftershe com pleted the Board-required physician

com petency evaluation,the Executive Directorofthe V irginiaD epartm entofH ealth

Professions,Board ofM edicine notified LINDA SUE CH EEK thatherm edicallicense

wasreinstated to fullunrestricted statusw ith allattendantrightsand privileges. That

Board ofM edicinereinstatem entdid not,and could not,reinstateherDEA Certificate of

Registration.

      9.     On February 16,2009,LIND A SU E CH EEK applied foranew D EA

Certificate ofRegistration to allow herto prescribe Schedules11through V controlled

substances. Betw een Februaly 16,2009,and October2010,LIN DA SUE C H EEK

actively pursued obtaining a Certificate ofDEA Registration.




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       10.    On February 21,2009,LINDA SUE CH EEK wrote a letterto local

pharm acistsadvising them thatherm edicallicense had been reinstated and thatshe did

nothavea DEA Certitscate ofRegistration butthatshe had applied foritand itm ighttake

aw hile forherapplication to be granted. Shealso advised thatshe w ould begin accepting

patients again on February 23,2009.

       11.    Know ing thatshedid notpossessavalid Certificate ofD EA R egistration,

LIN DA SUE CH EEK issued prescriptions dispensing Schedules111,IV and V controlled

substances.

       12.    B etween February 23,2009,and M ay 14,2009,LIND A SUE CH EEK

wrote and signed five(5)prescriptionson herpre-printed prescription formsdispensing
Schedule lll-IV controlled substancesw ithouthaving a valid DEA registration num ber.

The follow ing prescriptionswere written unlaw fully by LIND A SU E CH EEK :

              a.   Prescription num berC865005 dated February 23,
              2009,wasw ritten to R .L.for 120 tablets ofLortab 7.5 m g
              (hydrocodoneAPAP)(Schedule111)with two authorized
              refills. Thisprescription w asfilled afterthe phannacist
              crossed outLIND A SU E CH EEK 'Ssignature and added Dr.
              K .S.'signature.

              b.    Prescription num ber0328379,dated February 23,
              2009,waswritten to W .R.for30 tabletsofAm bien 10 m g
              (Zolpidem tartrate)(ScheduleIV)with fiverefills.This
              prescription w asfilled.

              c.    Prescription dated M arch 20,2009,w aswritten to J.B.
              for60tabletsofLyrica(ScheduleV)withtwo refills.This
              prescription and atleastonerefillwas tilled.


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             d.        Prescription num ber4001588 dated April6,2009,was
             written toJ.S.for60 tabletsofLortab 7.5mg (hydrocodone
             APAP)(Schedule111)withonerefill.Thisprescription was
             filled.

             e.        Prescription dated M ay 14,2009,wasw ritten to V .Y .
             for30 tabletsofAmbien 10 mg(Schedule1V)with five
             reills. Thisprescription waspresented ata pharm acy but
             w asnotfilled by thepharm acist.

       13.   A 1lfive oftheprescriptionsdescribed abovew erew ritten using LINDA

SU E CH EEK 'Ssurrendered and revoked DEA num ber,XXXX XX 865,on herpre-

printed prescription form s,and signed by LIND A SU E CH EEK .

       14.   A hearing washeld in October2010 on LIN DA SU E C H EEK 'S

application foranew D EA Certificate ofRegistration.On Decem ber30,2010,the D EA

Adm inistrative Law Judge who presided overthe hearing issued a ruling recom m ending

denialof LIND A SUE CH EEK 'srequestto obtain aD EA registration num ber. The

Adm inistratorofDEA agreed with thatrecom m endation and herapplication fora DEA

Certificate ofRegistration wasdenied on October 17,2011.

             On July 8,2011,the Departm entofHealth Professions,Board ofM edicine

again suspended LIN DA SUE CH EEK 'Slicense to pradicem edicine indefinitely,but

foram inimum of12months,forviolationsofVirginiaCode Sections54.1-2915.A416)
and (17):
             (16) Perform ing any actlikely todeceive,defraud,orharm thepublic;
             (17) Violating anyprovision ofstatuteorregulation,stateorfederal,
                       relating to the m anufacture,distribution,dispensing,or
                       adm inistration ofdnlgs.

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                   NEW R IVER M EDICA L A SSOC IA TES.IN C.

       16.   A talltim esrelevantto thislndictm ent,the defendant,LINDA SU E

CH EEK ,w asdoing businessasthe corporate entity,N ew RiverM edicalA ssociates,lnc.

N ew ltiverM edicalA ssociates,lnc.,islocated at28 Towne CenterDrive,Dublin,

V irginia. The building isow ned by CBA A ssociates,LLC,ofwhich LIN DA SU E

CH EEK is aPrincipal,and housesthe m edicalpractice on one side ofthe building and

housesLINDA SUE CHEEK 'Shealthproductsstore,SPTH,LLC (Seven Pillarsof
TotalHealth),ontheotherside.AY wasthe only regularemployeeofNew River
M edicalA ssociates,Inc.,and served asthe receptionist.

              DISTR IBU TIO N O F CO NTR O LLED SUBSTAN CES -
               G EN ER AL ALLEG ATIO NS A ND TERM IN O LO G Y

             TheControlled SubstancesAct(1:CSA'')governsthemanufacture,
distribution,and dispensing ofcontrolled substancesin the U nited States. The CSA and

itsim plem enting regulationssetforth w hich drugsand othersubstances are defined by

law as llcontrolled substances.''Controlled substancesare then assigned to one offive

schedules,Sehedule 1,11,111,IV,orV ,depending on theirpotentialforabuse,likelihood

ofphysicalorpsychologicaldependency,accepted m edicaluse,and accepted safety for

useundermedicalsupervision.TheCSA andtheCodeofT ederalRegulations(tçCFR'')
contain definitionsrelevantto thislndictm ent,som e ofw hich are setforth below .

             a.     The term :kcontrolled substance''m eansa drug orothersubstance,or
                    im m ediateprecursor,included in Schedule 1,ll,111,IV ,and V,as
                    designatedbyTitle21oftheUnited StatesCode,Section 802(c)(6),
                    and the CFR.

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         b.    Theterm Stschedule 1155m eansthe drug orothersubstance hasa high
               potentialforabuse;the drug has acurrently accepted m edicaluse
               w ith severe restrictions;and abuse ofthedrug orothersubstances
               m ay lead to severepsychologicalorphysicaldependence.

         C.    Theterm ttschedule 111'5m eansthe drug orothersubstance hasa
               high potentialforabuse butlessthan the drugslisted in Schedule 11;
               the drug hasa currently accepted m edicaluse w ith severe
               restrictions;and abuse ofthe drug orothersubstancesm ay lead to
               severe psychologicalorphysicaldependence.

          d.   The term çsschedule IV''m eansthe drug orothersubstance has a low
               potentialforabuse relative to the drugsorothersubstancesin
               Schedule 111;the drug hasa currently accepted m edicaluse in
               treatm ent;and abuse ofthe drug orothersubstancesm ay lead to
               lim ited physicaldependence orpsychologicaldependence relativeto
               the drugs orsubstancesin Schedule 111.

          e.   The term çsschedule V''m eansthe drug orothersubstancehasa low
               potentialforabuse relative to the drugsorothersubstances in
               Schedule IV ;thedrug orothersubstance hasa currently accepted
               m edicaluse in treatm ent;and abuse ofthe drug orothersubstances
               m ay lead to Iim ited physicaldependence orpsychological
               dependencerelativeto the drugs orothersubstancesin Schedule 1V .

          f.   Theterm Gûdispense''meansto delivera controlled substance to an
               ultimateuserorresearchsubjectby,orpursuanttothelawfulorder
               of,a practitioner,including theprescribing and adm inistering ofa
               controlled substance.

         g.    Theterm lkdistribute''meanstodeliver(otherthan by administering
               ordispensing)acontrolled substance.
         h.    Theterm Skpractitioner''m eansa m edicaldoctor,physician,orother
               individuallicensed,registered,orothenvise perm itted,by theU nited
               Statesorthejurisdictioninwhichsheorhepractices,todispensea
               controlled substance in the course ofprofessionalpractice.

               Theterm ûçdosage''isthe am ount,frequency,and num berofdoses of
               m edication authorized by a practitioner,who hasbeen issued aD EA
               registration num ber.

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       18.   TheD EA issuesregistration num bersto qualifying practitioners,who

becom e authorized to dispense Schedule I1,111,IV ,and V controlled substances. The

term ç:registrant''refersto a person holding such a DEA registration num ber.

       19.   To legally issue a prescription fora controlled substance apractitionerm ust

be a DEA registrant. A prescription m ustbe issued fora legitim ate m edicalpurposeby a

practitionerw ith a DEA registration acting in theusualcourse ofprofessionalpractice.

A n orderpurporting to be aprescription issued notin theusualcourse ofprofessional

treatm entisnota prescription.

                     CH AR G ED CO NTR OLLED SUBSTA NC ES

      20.    Controlled substances are often know n by thetradenam e assigned to them

by the pharm aceuticalcompany.Som e ofthe controlled substancesdispensed by LINDA

SU E CH EEK include:

             a.     Hydrocodone APAP isa Schedule lllcontrolled substanceand isan
                    ingredientin variousnam e brand products,including,butnotlim ited
                    to,Lortab and N orco.

             b.     A lprazolam isa Schedule IV controlled substance and is an
                    ingredientin variousnam e brand products,including,butnotlim ited
                    to,Xanax.

             Q.     Clonazepam isa Schedule IV controlled substance and isan
                    ingredientin variousnam e brand products,including,butnotlim ited
                    to,Klonopin.

             d.     D iazepam isa Schedule IV controlled substance and isan ingredient
                    in variousnam e brand products,including,butnotlim ited to,
                    V alium .


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             e.    Phenterm ine isa Schedule IV controlled substance and is an
                   ingredientin variousnam e brand products,including,butnotlim ited
                   to,A dipex-p and Fastin.

             f.    Zolpidem tartrate isa Schedule IV controlled substance and isan
                   ingredientin variousnam e brand products,including,butnotIim ited
                   to,A m bien.

             g.    Lyrica is a Schedule V controlled substance.

      21.    LINDA SU E CH EEK directed the dispensing,and aided,abetted,

counseled,com m anded,induced and procured the dispensing,ofthese Schedule11

narcoticsthrough prescriptionssigned by D r.K .S.:

             a.    M ethadone isa Schedule 11controlled substance.

             b.    M orphine isa Schedule 11controlled substance and is an ingredient
                   in variousnam e brand products,including,butnotlim ited to,M S
                   Contin,Avinza orK adian and M orphine Sulfate Im m ediate Release
                   (ûtM S1R'')
                   Oxycodone isa Schedule 11controlled substance and is an ingredient
                   in variousnam ebrand products,including,butnotlim ited to,
                   Oxycontin,Percocet,Endocet,and Roxicodone.

             d.    Oxyinorphone isa Schedule 11controlled substance and isan
                   ingredientin variousnam e brand products,including,butnotlim ited
                   to,Opana ER and Opana lR .

             C.    Fentanylisa Schedule 11controlled substance.

                   Am phetam ineisa Schedule 11controlled substance and is an
                   ingredientin variousnam e brand products,including,butnotlim ited
                   to,A dderall.A dderallcontainsamphetam ine and saltsof
                   am phetam ine,which includesdextroamphetam ine.




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     THE CONTROLLED SUBSTANCES PRESCRIBING ARM NGEM ENT

      22.    Atal1tim esm aterialto thislndictm ent,Dr.K .S.w asa D octorof

Osteopathy and wasa practitionerregistered w ith the DEA w ith authorization to w rite

prescriptions in Schedules 11through V controlled substancesuntilshevoluntarily

surrendered herDEA registration on October27,2010. Dr.K .S.'sregistered location

w astheFree Clinic ofthe Twin Counties,Galax,V irginia,w here she routinely practiced

on W ednesdays. She did notw rite prescriptionsforcontrolled substances atthe Free

Clinic.

             In Sum m er2008,LIND A SU E C H EEK m etD r.K .S.ata religiousretreat.

Dr.K.S.heardthatLINDA SUE CHEEK hadjustlosthermedicallicense.Asshewas
sem i-retired and w orking only one day a w eek,Dr.K .S.agreed to see LIND A SU E

CH EEK 'SpatientsatN ew RiverM edicaluntilLINDA SU E CH EEK could gether

m edicallicense and DEA registration reinstated.D r.K .S.began seeing patientsatNew

RiverM edicalA ssociates,Inc.,in Dublin around Septem ber2008. As she had been

suspended from m edicalpractice,LIN DA SUE CH EEK aded,in part,asareceptionist

during thistim e.

      24.    ln February 2009,w hen LIN DA SUE CH EEK 'Sm edicallicense w as

reinstated butherDEA registration application had notbeen granted,LINDA SUE

CH EEK changed the m edicalpractice relationship with Dr.K .S. From February 23,

2009,forw ard,LINDA SU E CH EEK initially saw allnew patientsfirstto acceptthem

into thepractice.

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      25. LINDA SUE CHEEK usually charged $150.00foranew patientoftice

visit.She charged specificfeesup to $110.00 forsubsequentofficevisitsdepending

upon the numberofm onthssupply ofprescription controlled substancesthepatient

obtained. Despite herpatients'having M edicare,orM edicaid,orotherinsurance

coverage,LINDA SU E CH EEK accepted only cash and personalcreditcardsforher

office visitsbecause she had been excluded from participation in those health care benefit

program ssince 2008.

      26.    LINDA SUE CH EEK explained to patientsthatifthe patientw as

prescribed one prescription fora 30 day supply ofa controlled substancethe costofthe

officevisitwould be $55.00.To add asecond 30 day supply oftheprescription fora

controlled substancethecostoftheofficevisitwouldbe$85.00.To add athird 30 day

supply ofthe prescription fora controlled substance the costofthe office visitw ould be

$1IO.OO.
             Even though she did nothave a valid DEA registration num berand contrary

to the usualcourse ofprofessionalpractice,LIND A SU E CH EEK ,orA .Y .on her

behalf,called in prescriptions forSchedule IIIand IV controlled substancesto pharm acies

fornew patientson the irstvisitw ith LIND A SU E CH EEK using D r.K .S.'sDEA

registration num berbefore the patientsw ere everseen orexam ined by D r.K .S.,the only

physician w ith a valid DEA Certificate ofRegistration.

      28.    ln one instance,on Thursday,M ay 28,2009,a patientworking w ith the

D EA m etw ith LIND A SU E CH EEK asa new patient.Thisoffice visitresulted in

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LINDA SU E CH EEK calling in a prescription for45 tablets ofhydrocodone,a Schedule

IIIcontrolled substance,to a pharm acy underD r.K .S.'DEA registration num ber. Dr.K .

S.wasnotatthe m edicaloftice atthe tim e ofthisvisitand neversaw orexam ined this

patientpriorto theprescription being called in to thepharm acy.

      29.    LIND A SU E CH EEK rarely conducted appropriate diagnostic testing,

prescribed physicaltherapy orm ade referralsforpsychologicaloraddidion counseling.

      30.    Thispractice ofLINDA SUE CH EEK ,orA .Y .on herbehalf,calling in

prescriptions forcontrolled substanceson the firstpatientvisitand w ithoutpatient

exam ination by Dr.K .S.,the DEA registrant,wasrepeated num eroustim esbetw een

February 2009 and M ay 2010.

             Patientsw ho desired thestrongerSchedule 11controlled substanceshad to

be seen by D r.K .S.and subsequently m ade an appointm entto seeheron a Thursday. Dr.

K .S.only w rote prescriptions forcontrolled substances atLINDA SU E CH EEK 'S

office,where sheroutinely saw patientson Thursdays. Dr.K .S.infrequently w orked at

N ew RiverM edicalon otherdaysofthe week.

      32.    ltw astheroutinepracticeatNew RiverM edicalA ssociates,lnc.,forD r.K .

S.to seepatientsonce aftertheirinitialvisitwith LIN DA SUE CH EEK . Forfollow -up

visitsthereafter,patientssaw LIN DA SU E CH EEK who handed outprescriptions

previously pre-signed by D r.K .S.On Thursdays,D r.K.S.would routinely see the

patients on herappointm entlist,review and sign the num erouspatientnotes from the


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previousw eeks'patients'visitswith LINDA SUE CH EEK ,and then sign m ore than 200

pre-printed prescriptionsforSchedule 11-V controlled substances forpatientscom ing to

the practice to see LIND A SU E CH EEK in the following daysbefore Dr.K .S.'next

visit,usually the nextThursday.

      33. On M ay 19,2009,LINDA SU E CH EEK faxed a letterto the DEA O ffice

in Roanoke. LINDA SU E C H EEK explained in herletterthatshe had hired Dr.K .S.to

writeprescriptionsforSchedule 11through V controlled substancesforherpatientsat

New RiverM edicalA ssociates,lnc.

      34.    On June 25,2009,afterD r.K .S.had been interview ed by D EA , LIND A

SUE C H EEK prepared a written agreem entw hich m em orialized a supposed itverbal

Contract''between Dr.K .S.and LINDA SU E C H EEK detailing theircontractual

prescribing arrangem entin place sinceFebruary 23,2009. Thiscontractprovided the

follow ing,in part:

                      Dr.(K.S.1willseepatientsreceiving schedule
                      11m edicationsforthe firstvisit. A fterthat,she
                      w illapprove the m edications asrecom m ended
                      by D r.Cheek and sign theprescriptionsas
                      needed. Ptsw illbe followed by D r.Cheek on a
                      regularbasis atleastevery 90 days.

             3.       Dr.(K.S.jdoesnotneedtoseepatients
                      receiving Schedule 3-5 m edications. She w ill
                      approve m edicationsasrecom m ended by Dr.
                      Cheek and allow D r.Cheek orherstaffto call
                      them in to the pharm acy in hernam e.



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       35.   The June 25,2009,tsv erbalContract''included an SiA ddendum ''w hich

changed thepreviousverbalagreementto add,inpart,thatûçDr.(K.S.jwillseeallpatients
one tim ew ho are on any scheduled m edication.''

       36.   On June 14,2010,Dr.K .S.wasagain interview ed by D EA and a search

w asexecuted atLINDA SU E CH EEK 'Sm edicaloffice. Thereafter,on June 16,2010,a

new A ddendum w asprepared.This agreem entprovided thatfrom thatpointforward,Dr.

K .S.w ould callin any controlled substancesin SchedulesIIlthrough V .

       37.   On M ay 6,2010,LIND A SUE CH EEK senta letterto the DEA

W ashington D ivision D iversion Program M anager'sO ftk e indicating thatshe,and not

Dr.K .S.,w asthe prescribing physician. In thisletterLIN DA SUE CH EEK wrote tçldo

notuse benzodiazepinesifatallpossible,and lespecially stop the use ofXanax.'' ç$I

rarely prescribeO xycontin.''

      38.    O n October27,2010,afterconsultation w ith an attorney,D r.K .S.

voluntarily surrendered herD EA controlled substancesprivilegesacknow ledging on the

surrenderform thatshe had notcom plied with the law :

             In view ofm y alleged failure to com ply w ith the Federal
             requirem entspertaining to controlled substances,and asan
             indication ofmy good faith in desiring to rem edy any incorrector
             unlaw fulpracticeson m y part.

       39.   On Thursday,October28,2010,Dr.K .S.w entto LINDA SU E CH EEK 'S

m edicaloffice and advised LINDA SUE CH EEK thatshe had surrendered herDEA

registration num ber.A fterfurtherdiscussion,LINDA SU E CH EEK asked Dr.K .S.if

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she knew ofanotherphysician who could com e Elbabysit''herpractice and told herthat

thephysicianjusthad tobepresentandsign LINDA SUE CHEEK'Scontrolled
substance prescriptionsforherpatients.



                                     COUNT 1
                  (Distribution ofSchedulelIIControlled Substances)
      The Grand Jury charges:

      1.     The allegations setforth in the Introduction to thisIndictm entare

incorporated herein by reference.

             On oraboutFebruary 23,2009,in the W estern D istrictofVirginia,

the defendant,LIN DA SUE CH EEK ,did knowingly,and intentionally dispense and

distribute a m ixture and substance containing a detectable am ountofhydrocodone

(Lortab),a Schedulel11controlled substance,toR.L.withoutholding avalid Certificate
ofDEA Registration.

      3.     ln violation ofTitle21,United StatesCode,Sections841(a)(1)and
841(b)(1)(D)(2008)(vitllationsinvolving ScheduleIIlcontrolled substancesoccurringon
01-afterAprill3,2009,arecodified at21U.S.C.j841(b)(1.
                                                    )(E)).




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                                      CO UNT 2
                  (Distribution ofScheduleIV Controlled Substances)
      The Grand Jury charges:

       1.    The allegationssetforth in theIntroduction to thislndictm entare

incorporated herein by reference.

      2.     O n oraboutFebruary 23,2009,in the W estern D istrictofV irginia,

the defendant,LIND A SUE CH EEK ,did know ingly,and intentionally dispense and

distribute a m ixture and substance containing a detectable am ountofZolpidem tartrate

(Ambien),a ScheduleIV controlled substance,toW .R.withoutholding avalid
Certificate ofDEA Registration.

             Inviolation ofTitle21,United StatesCode,Sections841(a)(1)and
841(b)(2).


                                      COUNT 3
                  (Distribution ofScheduleV Controlled Substances)
      The Grand Jury charges:

       1.    The allegationssetforth in theIntroduction to thislndictm entare

incorporated herein by reference.

      2.     On oraboutM arch 20,2009,in the W estern D istrictofVirginia,

the defendant,LIND A SUE CH EEK ,did know ingly,and intentionally dispense and

distribute a m ixture and substance containing a detectable am ountofLyrica,a Schedule

V controlled substance,to J,B.withoutholding a valid Certificate ofDEA Registration.

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             In violation ofTitle21,United StatesCode,Sections841(a)(1)and
841(b)(3).


                                     CO UNT 4
                  (Distribution ofScheduleIIlControlled Substances)
      The Grand Jury charges:

       1.    The allegationssetforth in theIntroduction to thisIndictm entare

incorporated herein by reference.

      2.     O n oraboutA pril6,2009,in the W estern D istrictofV irginia,

the defendant,LINDA SU E CH EEK ,did know ingly,and intentionally dispense and

distribute a m ixture and substance containing a detectable am ountofhydrocodone

tLortabl,aSchedule lI1controlledsubstance,toJ.S.withoutholding avalidCertificate
ofDEA Registration.

      3.     In violation ofTitle21,United StatesCode,Sections841(a)(1)and
841(b)(1)(D)(2008)(violationsinvolving Schedulelllcontrolledsubstancesoccurring on
orafterApril13,2009,arecodifiedat2lU.S.C.j841(b)(l)(.fF
                                                      ))).




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                                     CO UNT 5
                  (Distribution ofScheduleIV Controlled Substances)
      The Grand Jury charges:

             The allegationssetforth in the lntroduction to thislndidm entare

incorporated herein by reference.

       2.    On oraboutM ay 14,2009,in the W estern D istrictofVirginia,

the defendant,LIND A SUE CH EEK ,did knowingly,and intentionally dispense and

distribute a m ixture and substance containing a detectable am ountofZolpidem tartrate

(Ambien),aScheduleIV controlled substance,toV.Y.withoutholding avalid Certificate
ofDEA Registration.

       3.    In violation ofTitle21,United StatesCode,Sections841(a)(1)and
841(b)(2).


                                    POUNTS 6-10
       (UseofaDEA RegistrationNumberWhichW asRevoked and Suspended)
       The Grand Jury charges:

             The allegations setforth in the lntroduction to thislndictm entare

ineorporated herein by reference.

      2.     On oraboutthe dates setforth below ,in the W estern DistrictofV irginia,

the defendant,LIND A SUE CH EEK ,know ingly and intentionally used a DEA

registration num berw hich had been revoked and suspended in the course ofdispensing

the controlled substancessetforth below ,each such use being a separate violation oflaw :

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    Count        Prescription       Patient       Drug         Quantity/       Schedule
       #             Date                        W ritten        R enlls
       6            2/23/09           ltL       Lortab 7.5       120/2R            1II
       7            2/23/09          WR         A mbien 10        30/5R            IV
       8            3/20/09           JB        Lyrica 75         60/2R            V
       9             4/6/09           JS        Lortab 7.5        60/1R            111
      10            5/14/09          VY         A mbien 10        30/5R            IV

              In violation ofTitle21,United StatesCode,Section 843(a)(2)and
843(d)(1),andTitle 18,United StatesCode,Section 2.




                                    C O UN TS 11 -91
               (Distribution ofSchedule11IandIV Controlled Substances)
       The G rand Jury charges:

              The allegationssetforth in the lntroduction to thislndictm entare

incorporated herein by reference.

              On oraboutthe datessetforth below ,the defendant,LIND A SUE

CH EEK ,did know ingly and intentionally dispense and distribute and aid,abet,counsel,

com m and,indtlcc,proctlre and w illt-ully catse the dispensing and distribution of,a

m ixture and substance containing a detectable am ountofthe controlled substancesset

forthbelow tothepersonssetforthbelow by authorizing prescription ûçorders''(a)without
avalid DEA registration;and (b)notforalegitimatemedicalpurposeby apractitioner
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acting in the usualcourse of professional practice,each such dispensing and distribution

being a separate violation oflaw :

Count      Date       Person         Patient        Drug          Quantity/ Schedule
  #      Called in Callin in                                        Renlls
  11      3/3/09        AY            EH       Hydrocodone 10         90           111
  12      3/3/09       Cheek         A T-I     Hydrocodone 7.5        90           11l
  13      4/6/09        AY           A T-I     Hydrocodone 10       90/2R          III
  14      3/6/09        AY            RG       Hydrocodone 10         40           IlI
  15      3/6/09        AY            RG        D iazepam 10          120          IV
  16      3/10/09      Cheek          CG       Hydrocodone 7.5        10           lll
  17      3/16/09      Cheek          AW       Hydrocodone 10         60           l1l
  18      3/16/09      Cheek          AW        D iazepam 10          60           IV
  19      3/17/09      Cheek          VH       Hydrocodone 10         15           ll1
 20       3/17/09      Cheek          VH        Alprazolam 1          120          IV
 21       3/20/09    U nknow n        DM       H ydrocodone 10        60           II1
 22       3/24/09      Cheek          DP       Hydrocodone 7.5        12           III
 23       3/25/09      Cheek          CH       Hydrocodone 7.5        150          1II
 24       4/21/09      Cheek          CH       Hydrocodone 7.5        150          1ll
 25       3/30/09      Cheek         W LS      Hydrocodone 10         15           I1l
 26       3/30/09      Cheek         W LS       A lprazolam .5        40           IV
 27       3/30/09      Cheek         W LS        D iazepam 5          60           IV
 28       4/1/09       Cheek          CR       Hydrocodone 10         60           1II
 29       4/5/09       Cheek          RE       Hydrocodone 10         60           l1l
 30       4/22/09      Cheek           JF      Hydrocodone 5          20           lll



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Count    Date      Person     Patient        Drug           Quantity/ Schedule
 #      Called in Callin in                                  R efills
 31     6/19/09      AY         JF      Hydrocodone 10         20        lIl
 32      5/4/09     Cheek      DM c       Phenterm ine         30        IV
 33     6/10/09      AY        DM c       Phenterm ine         30        IV
 34      5/5/09      AY       A T-2     Hydrocodone 10         20        lll
 35      5/6/09     Cheek      LE       H ydrocodone 7.5       90        111
 36      5/6/09    Unknow n    LE        Phenterm ine 30       30        IV
 37      6/2/09      AY        LE       Hydrocodone 10       90/1R       lIl
 38      6/2/09      AY        LE        Phenterm ine 30     30/1R       IV
 39      8/5/09     Cheek      LE       Hydrocodone 10       90/1R       llI
 40      8/5/09     Cheek      LE        Phenterm ine 30       30        IV
 41     10/14/09     AY        LE       Hydrocodone 10       90/3R       IIl
 42     10/14/09   Unknown     LE       Phenterm ine 37.5      30        IV
 43      5/6/09     Cheek      DW       Hydrocodone 10         30        lll
 44     5/11/09     Cheek      GT       Hydrocodone 10         90        11I
 45     5/11/09     Cheek      GT         D iazepam 5          60        IV
 46     5/20/09      AY         JB      Hydrocodone 10         100       111
 47     6/16/09      AY         JB      Hydrocodone 10         40        ll1
 48     5/28/09      AY        SC-I     Hydrocodone 10         45        IIl
 49     5/29/09      AY        BS       Hydrocodone 10         30        11l
 50     5/29/09      AY        BS         Alprazolam 1         90        IV
 51     5/29/09      AY        ET       Hydrocodone 10         60        lll
 52      6/2/09      AY        R1'1      Hydrocodone 5         120       lII
 53      6/2/09      AY        lU 1       Alprazolam 1         45        IV


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Count    Date        Person     Patient        Drug          Quantity/ Schedule
 #      Called in   Callin in                                 Refills
 54      6/5/09       AY          JS      Hydrocodone 7.5     90/1R      l1I
 55      8/5/09      Cheek        JS         Lortab 7.5       90/3R      llI
 56      6/5/09       AY         WW       Hydrocodone 10        30       III
 57      6/5/09       AY         WW        A lprazolam 1        90       IV
 58      6/5/09       AY         WW        Clonazepam .5      60/1R      IV
 59      6/9/09       AY         DF       Hydrocodone 7.5       20       11l
 60     10/16/09      AY         DF       Hydrocodone 7.5       20       III
 61     10/16/09      AY         DF         D iazepam 5         20       IV
 62     6/10/09       AY         WB       Hydrocodone 10        120      l1l
 63     6/17/09       AY         AB       H ydrocodone 7.5      10       Ill
 64     6/24/09      Cheek       CR       H ydrocodone 7.5      30       ll1
 65     7/20/09       AY         MP       Hydrocodone 10        12       lI1
 66      8/5/09      Cheek       MF       Hydrocodone 7.5       5        lll
 67      9/2/09       AY         AD          Lortab 10          5        11I
 68     9/17/09       AY         GN       Hydrocodone 10        45       lII
 69     9/18/09      Cheek       ltR      Hydrocodone 7.5       25       1I1
 70     10/20/09      AY         RT       Hydrocodone 7.5       6        lll
 71      11/2/09      AY         GS       Hydrocodone 7.5       40       111
 72      11/4/09      AY          JP      Hydrocodone 10        22       111
 73     l1/11/09      BO         PB       Hydrocodone 7.5       25       llI
 74     11/18/09      AY         TL       Hydrocodone 5         15       Ill
 75     12/9/09       AY         BC       Hydrocodone7.5        24       lll
 76      12/9/09      AY         BC         Diazepam 5          24       IV


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Count        Date      Person    Patient         Drug           Quantity/ Schedule
   #     Called in C allin in                                    R enlls
  77        12/9/09     AY         JD          Lortab 7.5          15          lII
  78        12/9/09     AY         GD      Hydrocodone7.5          25          1ll
  79        12/11/09    AY         SH       H ydrocodone 10        18          1ll
  80        12/30/09   Cheek       KS       Hydrocodone 10         30          1ll
  81        12/31/09   Cheek       JH      Hydrocodone 7.5         20          1II
  82        1/22/10     AY         DC       Hydrocodone 10         25          I11
  83        1/22/10     AY         DC        Alprazolam 1          20          IV
  84        1/29/10     AY         WG       Hydrocodone 10         20          lII
  85         2/8/10     AY         JW       Hydrocodone 10         12          lll
  86        3/24/10     AY         MB      Hydrocodone 7.5         24          III
  87        4/19/10     AY         TC       Hydrocodone 10         24          11I
  88        4/19/10     AY         TC        Clonazepam 1          60          IV
  89        4/28/10     AY         LH      Hydrocodone 7.5          4          lll
  90        5/17/10     AY         TA      Hydrocodone 7.5         21          III
  91        5/19/10     AY        SC-2     H drocodone 7.5          5          llI

       3.     In violation ofTitle21,United StatesCode,Sections841(a)(1),
841(b)(1)(D)(forviolationsinvolving Schedule lllcontrolledsubstancesoccurring before
April13.2009)-841(b')(l)(E)(forviolationsinvolving.Schedule111controlled substances

occurring onorafterApril13,2009),84l(b)(2)(forviolationsinvolving ScheduleIV

controlled stlbstances),Title 18,United StatesCode,Section 2,andTitle21,Codeof
FederalRegulations,Section 1306.04(a).


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                                   CO UNTS 92 -172
                (UseofaDEA RegistrationNumberlssued to AnotherPerson)
        The Grand Jury charges:

                The allegationssetforth in theIntroduction to this Indictm entare

incorporated herein by reference.

        2.      On oraboutthe datessetforth below,in the W estern D istrictofV irginia,the

defendant,LIND A SUE CH EEK ,know ingly and intentionally used,and aided,abetted,

counseled,com m anded,induced,procured and w illtblly'caused the use of,a DEA

registration num berwhich wasissued to anotherperson,thatisDr.K .S.,in the course of

dispensing and distributing the controlled substances setforth below ,each such Skcalled in''

prescription usebeing a separate violation oflaw :

Count         Date       Person      Patient          Drug            Quantity/ Schedule
   #         Called in Callin in                                       R eills
  92          3/3/09       AY          EH       Hydrocodone 10            90           lll
  93          3/3/09      Cheek       AT-I      Hydrocodone 7.5           90           lll
  94          4/6/09       AY         AT-1      Hydrocodone 10          90/2R          1l1
  95          3/6/09       AY          RG       Hydrocodone 10            40           lII
  96          3/6/09       AY          RG         Diazepam 10            120           IV
  97         3/10/09      Cheek        CG       H ydrocodone 7.5          10           1ll
  98         3/16/09      Cheek       AW        Hydrocodone 10            60           IIl
  99         3/16/09      Cheek       AW          D iazepam 10            60           IV
  100        3/17/09      Cheek        VH       Hydrocodone 10            15           lll
  101        3/17/09      Cheek        VH         Alprazolam 1           120           IV
  102        3/20/09    Unknow n      DM        Hydrocodone 10            60           IlI


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Count    Date      Person     Patient        Drug           Quantity/ Schedule
 #      Called in Callin in                                  R eslls
 103    3/24/09     Cheek      DP       Hydrocodone 7.5        12        lll
 104    3/25/09     Cheek      CH       Hydrocodone7.5         150       I1I
 105    4/21/09     Cheek      CH       Hydrocodone7.5         150       lIl
 106    3/30/09     Cheek     W LS      Hydrocodone 10         15        Ill
 107    3/30/09     Cheek      W LS      A lprazolam .5        40       IV
 108    3/30/09     Cheek     W LS         Diazepam 5          60       IV
 109     4/1/09     Cheek      CR       Hydrocodone 10         60        11l
 110     4/5/09     Cheek      ltE      Hydrocodone 10         60        111
 111    4/22/09     Cheek       JF       Hydrocodone 5         20        11I
 112    6/19/09      AY         JF      Hydrocodone 10         20        III
 113     5/4/09     Cheek     DM c        Phenterm ine         30       IV
 114    6/10/09      AY       DM c        Phenterm ine         30       IV
 115     5/5/09      AY       AT-2      Hydrocodone 10         20        1ll
 116     5/6/09     Cheek      LE       Hydrocodone 7.5        90       1II
 117     5/6/09    Unknown     LE        Phenterm ine30        30       IV
 118     6/2/09      AY        LE       H ydrocodone 10      90/1R       lII
 119     6/2/09      AY        LE        Phenterm ine 30     30/1R      IV
 120     8/5/09     Cheek      LE       Hydrocodone 10       90/1R       I1I
 121     8/5/09     Cheek      LE        Phenterm ine 30       30       IV
 122    10/14/09     AY        LE       H ydrocodone 10      90/3R       I1I
 123    10/14/09   Unknown     LE       Phenterm ine 37.5      30       IV
 124     5/6/09     Cheek      DW       Hydrocodone 10         30        lII
 125    5/11/09     Cheek      GT       Hydrocodone 10         90       1lI
 126    5/11/09     Cheek      GT          Diazepam 5          60       IV
 127    5/20/09      AY        JB       H ydrocodone 10        100      Il1


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Count    Date       Person      Patient        Drug          Quantity/ Schedule
 #      C alled in C allin in                                 R enlls
 128    6/16/09       AY          JB      Hydrocodone 10        40        Ill
 129     5/28/09      AY         SC-I     Hydrocodone 10        45        I1l
 130     5/29/09      AY         BS       Hydrocodone 10        30        lIl
 131     5/29/09      AY         BS         Alprazolam 1        90       IV
 132     5/29/09      AY         ET       Hydrocodone 10        60        lIl
 133     6/2/09       AY         RI'
                                   I       Hydrocodone 5        120       1I1
 134     6/2/09       AY         IU'
                                   I        Alprazolam 1        45        IV
 135     6/5/09       AY          JS      Hydrocodone 7.5     90/1R       llI
 136     8/5/09      Cheek        JS         Lortab 7.5       90/3R       11l
 137     6/5/09       AY         WW       Hydrocodone 10        30        lll
 138     6/5/09       AY         WW         Alprazolam 1        90        IV
 139     6/5/09       AY         WW        Clonazepam .5      60/1R       IV
 140     6/9/09       AY         DF       Hydrocodone 7.5       20        I1I
 141    10/16/09      AY         DF       Hydrocodone 7.5       20        lII
 142    10/16/09      AY         DF         D iazepam 5         20       IV
 l43    6/10/09       AY         WB       Hydrocodone 10        120       lII
 144    6/17/09       AY         AB       Hydrocodone 7.5       10        III
 145    6/24/09      Cheek       CR       H ydrocodone 7.5      30        1I1
 146    7/20/09       AY         MP       Hydrocodone 10        12        111
 147     8/5/09      Cheek       MF       Hydrocodone 7.5        5        111
 148     9/2/09       AY         AD          Lortab 10           5        lII
 149    9/17/09       AY         GN       Hydrocodone 10        45        lIl
 150    9/18/09      Cheek       RR       Hydrocodone 7.5       25        IIl
 151    10/20/09      AY         RT       H ydrocodone 7.5      6         1ll
 152     11/2/09      AY         GS       Hydrocodone 7.5       40        11l

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Count     Date       Person     Patient         Drug          Quantity/ Schedule
  #      Called in Callin in                                   R efills
  153     11/4/09      AY         JP        Hydrocodone 10       22          ll1
  154    11/11/09      BO         PB        Hydrocodone 7.5      25          1II
  155    11/18/09      AY         TL        Hydrocodone 5        15          lll
  156     12/9/09      AY         BC        Hydrocodone7.5       24          l1I
  157     12/9/09      AY         BC          Diazepam 5         24          IV
  158     12/9/09      AY         JD          Lortab 7.5         15          111
  159     12/9/09      AY         GD        Hydrocodone 7.5      25          11I
  160    12/11/09      AY         SH        Hydrocodone 10        18         Ill
  161    12/30/09     Cheek       KS        Hydrocodone 10       30          lll
  162    12/31/09     Cheek       JH        Hydrocodone 7.5      20          l1l
  163     1/22/10      AY         DC        Hydrocodone 10       25          1I1
  164     1/22/10      AY         DC         A lprazolam 1       20          IV
  165     1/29/10      AY        WG         H ydrocodone 10      20          llI
  166     2/8/10       AY         JW        H ydrocodone 10      12          I11
  167     3/24/10      AY        MB         Hydrocodone 7.5      24          11I
  168     4/19/10      AY         TC        H ydrocodone 10      24          I1I
  169     4/19/10      AY         TC         Clonazepym 1        60          IV
  170     4/28/10      AY         LH        Hydrocodone 7.5       4          11l
  171     5/17/10      AY         TA        Hydrocodone 7.5      21          IlI
  172     5/19/10      AY        SC-2       H drocodone 7.5       5          IlI

            ln violation ofTitle21,United StatesCode,Sedion 843(a)(2)and S43(d)(1),
and Title 18,United StatesCode,Section 2.




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                                     C O U N T 173
                         (Maintaining Drug-lnvolvedPremises)
      The Grand Jury charges:

             The allegationssetforth in the lntroduction to thislndictm entare

incorporated herein by reference.

             Betw een on oraboutFebruary 23,2009 and continuing thereafteruntilat

leastO ctober27,2010,the defendant,LINDA SU E C H EEK ,know ingly and

intentionally m aintained,and aided and abetted the m aintenance,of28-32 Tow n Center

Drive,Dublin,V irginia,the addressofN ew RiverM edicalA ssociates,lnc.,forthe

purpose ofunlaw fully distributing controlled substances,specifically including,butnot

lim ited to,a m ixture and substance containing a detectable am ountofcontrolled

substances such ashydrocodone,diazepam ,A lprazolam ,Phenterm ine,Am bien,Lyrica,

Clonazepam ,m ethadone,m orphine,oxycodone,oxym orphone,fkntanyland Adderall.

             In violation ofTitle21,United StatesCode,Section 856(a)(1)andTitle 18,
U nited StatesCode,Section 2.



                            N O TICE O F FO R FEITU R E

         U pon conviction ofone orm ore ofthe felony offensesalleged in this

lndictm ent,the defendantshallforfeitto the United States:

      (a) anyproperty constituting,orderived from,anyproceedsobtained,
      directlyorindirectly,asaresultofsaid offenses,pursuantto 21U.S.C.j
      853(a)(1).
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      (b)    anypropertyused,orintendedtobeused,in any mannerorpart,to
      com m it,orto facilitate the com m ission ofsaid offenses,pursuantto 21
      U.S.C.j 853(a)(2).
      2. Theproperty to be forfeited to the United Statesincludesbutisnotlim ited to the

following property:

      (a)    M oney Judgm ent
             A n undeterm ined sum ofU nited Statescurrency and allinterestand
             proceedstraceablethereto,in thatsuch sum in aggregate w as
             obtained directly orindirectly asa resultofsaid offenses oris
             traceable to such property.

      (b)    RealProperty

                  28-32Town CenterDrive,Dublin VA (comm ercial)
                             Tax M ap #056-061-0000-0004

      A 1l that certain lot or parcel of land together w ith the easem ents and
      appurtenances thereunto belonging,situate,lying and being in the Town of
      Dublin,PulaskiCounty,Virginia,being m oreparticularlydescribedasfollow s,
      to-w it:A LL ofthatcertain 0.7855 acre tract,m ore orcom m only referred to as
      Lot four(4) in the Dublin Town Center,as described on thatcertain plat
      entitled, ûT LA T SH OW IN G 10' PU BLIC U TILITY EA SEM ENT LOT 4
      DU BLIN TOW N CENTER,TO W N OF D UBLIN, PU LA SK I CO UN TY ,
      VIRGIN IA '', as prepared by M athews & Henegar, Professional Land
      Surveyors,dated O ctober 11, 1996,a copy ofwhich is attached hereto,and
      m ade a parthereof,and reference ishereby m adeto said platof survey fora
      m ore accurate description oftheproperty herein conveyed.Tax M ap N um ber
      056-031-0000-0004.

      BEIN G the sam e property conveyed via D eed dated A pril22,1999,to CBA
      A ssociates,L.L.C.,a V irginia Lim ited Liability Com pany,from Sam uelH .
      Tollison. Said Deed is recorded in the Circuit Court of Pulaski County,
      V irginia,as1-.R 1999003358.

      3. Ifany ofthe above-described forfeitable property,asa resultofany actor

om ission ofthe defendant:


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      (a) cannotbelocated upontheexerciseofduediligence;
      (b) hasbeen transferredorsold to,ordeposited with athird person;
      (c) hasbeen placedbeyond thejurisdiction oftheCourt;
      (d) hasbeen substantially diminished in value;or
      (e) hasbeen comm ingledwith otherpropertywhich cannotbe
      subdivided w ithoutdifficulty;

itisthe intentoftheU nited Statesto seek forfeiture ofany otherproperty ofthe defendant

up tothevalueoftheabove-describedforfeitableproperty,pursuantto21U.S.C.j 853(p),
including butnotlim ited to the property described below :

             4888M illerRidgeRoad,Dublin,VA (residential)
             Tax M ap # 046-008-0000-0004

      A llthatcertain lotorparcelofland w ith a1lthe easem entsand
      appurtenancesthereunto belonging orin anywise appertaining thereto,
      situate,lying and being in the M assie M agisterialDistrictofthe County of
      Pulaski,V irginia,and asm ore particularly described asfollow s:A11ofTract
      4,containing 29.8491acreslocated on Black Hollow Road as show n on the
      survey m ap entitled ECPLAT Show ing TractN o.4 M illerPlace Subdivision
      forA .C.lIl& Carolyn B.Spottsin M assie M agisterialDistrict, Pulaski
      County,V irginia'',dated October23,1992 and prepared by M athew s&
      Henegar,ProfessionalLand Surveyors,Dublin,V irginia,and recorded in the
      Clerk's Office oftheCircuitCourtofthe County ofPulaski,V irginia in
      Slide 276,page 4,and ftzrtherdesignated and described asBeing allofTract
      No.Four(4)containing29.8290acreslocated on Black Hollow Road as
      shown on a survey entitled içphysicalSurvey TractN o.4,M illerPlace
      Subdivision,PulaskiCounty,Virginia,forLinda C.Aylesworth and M artin
      S.Aylesw orth'',prepared by M athew s& Henegar,ProfessionalLand
      Surveyors,dated M ay 21,1996,a copy ofwhich platisrecorded in the
      aforesaid Clerk'sO ftsce in D eed Book 574,page 241w hich reference is
      hereby m adeto said plats fora m ore accurate description oftheproperty
      herein conveyed. Tax M ap #046-008-0000-0004.

      TOGETH ER W ITH AN D APPURTENAN T THEREUNTO BELON G IN G
      a non-exclusive 50'perpetualeasem entand rightofw ay from the above
      described TractacrossM illerRidgeRoad to Black H ollow Road,State
      Route 636,asshown on the survey m ap ofM illerPlace Subdivision

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     prepared by R.Lloyd M athew sdated April29,1992,and recorded in the
     aforesaidClerk'sOfficeinCabinet1,Slide273,page5,butsubjecttothe
     rightsofothers in and to the use thereof.

     BEIN G thesam e property conveyed via Deed dated July 22,2004,to Linda
     S.Cheek from M artin S.Aylesw orth,divorced and Linda C.Aylesw orth
     a/k/a Linda S.Cheek,divorced. Said D eed isrecorded in the CircuitCourt
     ofPulaskiCounty,V irginia,as1.r 004004714.


                    Tb
A TRUE BILL,this R $ day ofM ay, 2012.

                                                           C   *

                                                        FOR E      N


      M T Y A H EA PH Y
    ITED TA TES ATTO R NEY




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